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     Attorney for Defendant Haitham Habash
 6

 7                            IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA,                         Case No.: 15-CR-00286-DAD-1

11                      Plaintiff,
                                                        STIPULATION TO CONTINUE SELF
12              v.                                      SURRENDER DATE FOR DEFENDANT
                                                        HAITHAM HABASH AND ORDER
13    HAITHAM HABASH,

14                      Defendant.

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16
            Notice is hereby given that, subject to approval by the Court, Haitham Habash, by and
17
     through his counsel Shaun Khojayan, and Assistant United States Attorney Karen Escobar, hereby
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     stipulate that Defendant Habash’s self-surrender date of July 17, 2019 be continued to September
19

20   1, 2019.

21          The reason for the continuance of the self-surrender is to allow Mr. Habash to recover from
22   his emergency open-heart surgery conducted on May 13, 2019, following symptoms of a heart
23
     attack. The continuance is requested to allow Mr. Habash to recover and rehabilitate from the
24
     surgery. The continuance is also needed to ensure that the BOP receives all of his medical records
25
     to ensure proper medical treatment and medication at the facility where he is designated.
26
27          All conditions of his release remain in full force and effect. United States Pre-trial officer,

28   Melissa Haberer, and AUSA Karen Escobar have no objection to this request.
                                                       1.
     Case 1:15-cr-00286-DAD-BAM Document 453 Filed 06/20/19 Page 2 of 2


 1   I consent to the above stipulation.
 2   Date: June 20, 2019                                           /s/ Haitham Habash
 3                                                                         Haitham Habash

 4   I consent to the above stipulation.

 5   Date: June 20, 2019                                           /s/ Karen Escobar
                                                                           AUSA Karen Escobar
 6

 7   I consent to the above stipulation.

 8   Date: June 20, 2019                                           /s/ Shaun Khojayan
                                                                           Shaun Khojayan
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10

11                                                    ORDER

12   The Stipulation to continue self-surrender date from July 17, 2019 to September 4, 2019 for

13   defendant Haitham Habash is hereby approved.
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15   IT IS SO ORDERED.

16      Dated:     June 20, 2019
                                                              UNITED STATES DISTRICT JUDGE
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              U.S. v Haitham Habash, Case #15-CR-0286-DAD-1        Stipulation to Continue Self surrender date
